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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LARRY JOE COLLINS,                         :   CIVIL ACTION NO. 3:12-CV-2244
                                           :
                    Plaintiff              :   (Chief Judge Conner)
                                           :
              v.                           :
                                           :
WARDEN B. A. BLEDSOE, et al.,              :
                                           :
                    Defendants             :

                                      ORDER

      AND NOW, this 25th day of September, 2017, upon consideration of the

report (Doc. 180) of Magistrate Judge Karoline Mehalchick, recommending that the

court grant in part and deny in part the summary judgment motion (Doc. 140) filed

by the collective defendants1 and deny the partial summary judgment motion (Doc.

151) filed by pro se plaintiff Larry Joe Collins (“Collins”), wherein Judge Mehalchick

opines: first, that Collins’ claims against defendant Bledsoe must be dismissed for

lack of personal involvement; second, that genuine disputes of material fact remain

as to Collins’ claims against defendants Fleming, Gemberling, and Prutzman for

excessive force arising from separate incidents on May 3, 2011 and May 4, 2011,

but that the claim arising from the May 4, 2011 incident is barred by the favorable

termination rule of Heck v. Humphrey, 512 U.S. 477 (1994), as expanded to include


      1
       Defendants sub judice are Warden B.A. Bledsoe; Associate Warden D.
Hudson; Lieutenant J. Fleming; Lieutenant R. Johnson; Correctional Officer S.
Prutzman; Correctional Officer K. Gemberling; Correctional Officer R. Casilla;
Correctional Officer C. Lytle; Correctional Officer G. Gaston; Correctional Officer
S. Hicks; Clinical Director Kevin Pigos; Physician Assistant Gregory George, and
EMT-P Bryan Walls.
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prison disciplinary proceedings in Edwards v. Balisok, 520 U.S. 641 (1997); third,

that genuine disputes of material fact also remain with respect to Collins’ claim

that defendant Hudson failed to intervene in the known use of excessive force on

May 3, 2011; fourth, that no genuine disputes of material fact remain as to Collins’

claims for denial of medical care during the May 3 and May 4, 2011 incidents and

that Collins failed to adduce evidence supporting his claim that defendants were

deliberately indifferent to his medical needs; and fifth, that genuine disputes of fact

preclude a qualified immunity determination at this juncture, (Doc. 180 at 8-20), and

the court noting that Collins filed objections (Docs. 181-82) to the report, see FED. R.

CIV. P. 72(b)(2), and defendants filed a response (Doc. 185) thereto, and, following a

de novo review of the contested portions of the report, see Behar v. Pa. Dep’t of

Transp., 791 F. Supp. 2d 383, 389 (M.D. Pa. 2011) (citing 28 U.S.C. § 636(b)(1)(C);

Sample v. Diecks, 885 F.2d 1099, 1106 n.3 (3d Cir. 1989)), and applying a clear error

standard of review to the uncontested portions, see Cruz v. Chater, 990 F. Supp.

375, 376-78 (M.D. Pa. 1999), the court finding Judge Mehalchick’s analysis to be

thorough, well-reasoned, and fully supported by the record, and finding Collins’

objections (Docs. 181-82) to be without merit and squarely addressed by the report,

it is hereby ORDERED that:

      1.     The report (Doc. 180) of Magistrate Judge Mehalchick is ADOPTED.

      2.     Defendants’ motion (Doc. 140) is GRANTED in part and DENIED in
             part as follows:




                                           2
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     a.    The motion (Doc. 140) is GRANTED with respect to all claims
           against defendant Warden B. A. Bledsoe;

     b.    The motion (Doc. 140) is GRANTED with respect to Collins’
           claim for excessive force arising from events on May 4, 2011;

     c.    The motion (Doc. 140) is GRANTED with respect to Collins’
           claim for denial of medical care; and

     d.    The motion (Doc. 140) is otherwise DENIED.

3.   Plaintiffs’ motion (Doc. 151) for partial summary judgment is DENIED.

4.   This matter shall proceed on the following claims:

     a.    Plaintiffs’ claim for excessive force against defendants
           Lieutenant J. Fleming, Correctional Officer K. Gemberling, and
           Correctional Officer S. Prutzman arising from events on May 3,
           2011; and

     b.    Plaintiffs’ claim for failure to intervene against defendant
           Associate Warden D. Hudson arising from events on May 3,
           2011.

5.   Entry of judgment in accordance with paragraph 2 above is deferred
     pending trial on the remaining claims and defenses sub judice.

6.   A separate pretrial scheduling order shall issue.




                                      /S/ CHRISTOPHER C. CONNER
                                      Christopher C. Conner, Chief Judge
                                      United States District Court
                                      Middle District of Pennsylvania
